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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                      (Alexandria Division)

---------------------------------------------------------------X
In re:                                                         :   Chapter 11
                                                               :
Darrall A. Griffin                                             :   Case No. 16-13433-BFK
                                                               :
                  Debtor.                                      :
                                                               :
---------------------------------------------------------------X

              MOTION TO APPROVE LOAN MODIFICATION AGREEMENT

        Debtor, through counsel, moves for approval of the Loan Modification Agreement

attached as Exhibit A. In support hereof, Debtor states as follows:

        1.       This Court has jurisdiction over this matter pursuant to 28 USC §§ 1334 and 157.

 This is a core proceeding.

        2.       A modification acceptable to Debtor has been agreed to by the current

holder/serviver of the secured mortgage claim on Debtor’s residence, Rushmore Loan

Management Servives, LLC.

        3.       The terms, in summary, are:

A. The principal amount of the loan before modification: $947,859.24

B. The principal amount of the loan immediately after modification: $1,036,153.12 ($885,000 is

interest bearing and amortized, remainder deferred. 50% of deferred principal subject to

forgiveness).


Daniel M. Press, VSB# 37123
CHUNG & PRESS, P.C.
6718 Whittier Avenue, Suite 200
McLean, Virginia 22101
Counsel for Debtors
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C. The interest rate applicable to the loan before modification: 6%

D. The interest rate applicable to the loan immediately after modification: 5.5%

E. The term or maturity date of the loan before modification: 7/1/2052

F. The term or maturity date of the loan immediately after modification: 6/1/2047

G. The monthly payment on the loan before modification, indicating whether that amount

includes payments for any items other than principal and interest: $4696.76, including $3,851.50

principal and interest, and $845.26 tax and insurance escrow



H. The monthly payment on the loan immediately after modification, indicating whether that

amount includes payments for any items other than principal and interest: $5477.82, including

$4567.15 principal and interest, and $910.67 tax and insurance escrow.



I. Whether the modified loan includes any future payment changes or balloon payments and, if

so, the terms of such future payment changes or balloon payments: Yes: escrow adjustments, and

balloon – loan amortized over 40 years, but matures in 30; plus deferred principal due at

maturity.

       4.      The modification will not prejudice any creditor in any way.

       WHEREFORE, Debtor respectfully request that the Loan Modification Agreement be

approved.

Dated: January 15, 2018.



                                             Respectfully submitted,




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                                             __/s/ Daniel M. Press ________
                                             Daniel M. Press, VSB# 37123
                                             CHUNG & PRESS, P.C.
                                             6718 Whittier Avenue, Suite 200
                                             McLean, Virginia 22101
                                             (703) 734-3800
                                             Counsel for Debtor




                                  CERTIFICATE OF SERVICE

        This is to certify that on the 15th day of January, 2018, I caused the foregoing Motion to
be served by CM/ECF, where available, or first-class mail, postage pre-paid, upon all creditors
listed on the List of Creditors and the U.S. Trustee.

                                             __/s/ Daniel M. Press ________
                                             Daniel M. Press




                                                 3
Label Matrix forCase
                  local 16-13433-BFK
                        noticing              Doc 68
                                                  CapitalFiled 01/15/18
                                                          One Bank (USA), N.A. Entered
                                                                               by American01/15/18
                                                                                           Inf     16:25:56       Desc
                                                                                                   PROF-2013-M4 Legal     Main
                                                                                                                       Title Trust, by U.S. Bank
0422-1                                                Document
                                                  PO Box 71083           Page    4  of 14          939 W. North Avenue
Case 16-13433-BFK                                   Charlotte, NC 28272-1083                          Suite 680
Eastern District of Virginia                                                                          Chicago, IL 60642-1231
Alexandria
Mon Jan 15 16:20:39 EST 2018
Pra Receivables Management, Llc As Agent Of         United States Bankruptcy Court                    Aldridge Pite LLP
POB 41067                                           200 South Washington Street                       c/o Gilbert Yabes
Norfolk, Va 23541-1067                              Alexandria, VA 22314-5405                         4375 Jutland Drive, Suite 200
                                                                                                      PO Box 17933
                                                                                                      San Diego CA 92177-7921

(p)AMERICAN HONDA FINANCE                           Ashley Funding                                    Ashley Funding Services, LLC its successors
P O BOX 168088                                      Resurgent Capital Services                        assigns as assignee of Laboratory
IRVING TX 75016-8088                                PO Box 10587                                      Corporation of America Holdings
                                                    Greenville, SC 29603-0587                         Resurgent Capital Services
                                                                                                      PO Box 10587
                                                                                                      Greenville, SC 29603-0587
Bank of America                                     Capital One                                       Capital One Bank (USA), N.A.
PO Box 26012                                        PO Box 71083                                      by American InfoSource LP as agent
Greensboro, NC 27420-6012                           Charlotte, NC 28272-1083                          PO Box 71083
                                                                                                      Charlotte, NC 28272-1083


Fairfax County Tax Administrat                      Fay Servicing                                     Internal Revenue Service
12000 Government Center Pkwy                        PO Box 220720                                     PO Box 7346
Suite 223                                           Chicago, IL 60622-0720                            Philadelphia, PA 19101-7346
Fairfax, VA 22035-0076


Jemeire Talley                                      Kingstowne Residential Owners                     Kristin Lough
5672 Tower Hill Circle                              C/O Rees Broome                                   3717 Gunston Road
Alexandria, VA 22315-5590                           1900 Gallows Rd Ste 700                           Alexandria VA 22302-2009
                                                    Tysons Corner, VA 22182-4098


Navy Federal Credit Union                           PROF-2013-M4 Legal Title Trust                    PROF-2013-M4 Legal Title Trust
P.O. Box 3000                                       Fay Servicing                                     c/o Aldridge Pite, LLP
Merrifield, VA 22119-3000                           939 W. North Avenue, Suite 680                    4375 Jutland Drive, Suite 200
                                                    Chicago, IL 60642-1231                            San Diego, CA 92117-3600


(p)PENTAGON FEDERAL CREDIT UNION                    Rushmore Loan Management Serv                     Rushmore Loan Management Services, LLC
ATTN BANKRUPTCY DEPARTMENT                          PO Box 55004                                      P.O. Box 55004
P O BOX 1432                                        Irvine, CA 92619-5004                             Irvine, CA 92619-5004
ALEXANDRIA VA 22313-1432


Samuel I White PC                                   Samuel I. White, P.C.                             Synchrony Bank
5040 Corporate Woods Dr                             1804 Staples Mill Road                            c/o of PRA Receivables Management, LLC
Virginia Beach, VA 23462-4377                       Suite 200                                         PO Box 41021
                                                    Richmond, VA 23230-3530                           Norfolk, VA 23541-1021


Virginia Department of Taxatio                      Wilmington Savings Fund Societ                    Daniel M. Press
PO Box 2156                                         Christiana Trust                                  Chung & Press, P.C.
Richmond, VA 23218-2156                             500 Delaware Avenue                               6718 Whittier Ave., Suite 200
                                                    Wilmington, DE 19801-7405                         McLean, VA 22101-4531
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5672 Tower Hill Circle                               Document           Page
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                                                                            - Region
Alexandria, VA 22315-5590                            115 South Union Street, Room 210
                                                     Alexandria, VA 22314-3361




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


American Honda Finance                               (d)American Honda Finance Corporation                Pentagon Federal Credit Union
PO Box 168088                                        National Bankruptcy Center                           PO Box 1432
Irving, TX 75016-0000                                P.O. Box 168088                                      Alexandria, VA 22313-1432
                                                     Irving, TX 75016-8088
                                                     866-716-6441




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)FAY SERVICING, LLC                                (u)Wilmington Savings Fund Society, FSB, d/b/        (du)Fay Servicing, LLC




End of Label Matrix
Mailable recipients      31
Bypassed recipients       3
Total                    34
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